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UNITED STATES DISTRICT COURT umi§rli“%.
SOUTHERN DISTRICT OF TEXAS MAY 02 gum
HOUSTON DIVISION _.
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UNITED STATES OF AMERICA §
§
v. § Criminal No. H-18-
ANN GUIN §
/k/ CHARLOTTE ANN GUIN _-
aa § lSCR 23§

CRIMINAL INFORMATION
The United States Attorney charges:
At all times material to this Cn'minal Information:

COUNT ONE
(Conspiracy to Commit Bank Fraud, 18 U.S.C. § 371)

A. INTRODUCTION

l. The Federal Deposit Insurance Corporation (FDIC) Was an agency of the
United States established to protect depositors by insuring the deposits of
member banks against loss up to $100,000 With the purpose of preventing
their collapse and instilling public confidence in the nation’s banking
institutions The FDIC insurance fund Was backed by the United States
government

2. Bank One, N.A. and JPMorgan Chase Bank, NA Were federally insured
financial institutions With branch locations in Houston, Texas Whose

deposits were insured by the FDIC.

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In 2004, JPMorgan acquired Bank One. Both Bank One and JPMorgan
offered private client services including access to a “private banker” for
customers Who maintained high average bank balances Who Wanted
personalized attention for their banking needs.

Defendant ANN GUIN a/k/a CHARLOTTE ANN GUIN (GUIN) Worked
as a banker for more than thirty years for Bank One, and then JPMorgan in
Houston, Texas.

JPMorgan terminated GUIN in March 2015. At the time of her termination,
GUIN Was serving as the private banker for several bank clients, including a
co~conspirator and client “G.” G Was a successful Houston businessman
With substantial financial assets. GUIN had been the private banker for the
co-conspirator and G at Bank One, and remained so after JPMorgan
acquired Bank One.

In 2005, the co-conspirator Was seeking a line of credit. GUIN and the co-
conspirator knew the Bank Would not approve a line of credit for the co-
conspirator Without a guarantor With substantial financial assets.

From 2005-20l4, GUIN signed or caused to be signed G’s signature or the
signature of one of G’s company employees as guarantor for the co-

conspirator on a $600,()00 line of credit and increases up to $6,750,000. G

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12.

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had no knowledge of the guarantee, and none of the signatures for G or his
company was authorized

From 2009-2014, GUIN signed or caused to be signed the signature of G or
one of G’s company employees as the guarantor for the co-conspirator on a
$500,00() line of credit with increases up to $l ,950,00(). G had no
knowledge of the guarantee, and none of the signatures for G or his
company was authorized

Between on or about December l, 2006, and on or about May 22, 2012, the
co-conspirator paid more than $l million in loan proceeds from the lines of
credit to GUIN’S grandson, sister, daughter-in-law, and son’s business.
When the co-conspirator had trouble making payments on the lines of credit,
GUIN and the co-conspirator solicited other Bank customers to make loans
to the co-conspirator to “invest” in the co-conspirator’s business, when in
truth and fact the money was to make payments on the co-conspirator’s
outstanding lines of credit.

In May 2015, the co-conspirator defaulted on both lines of credit.

THE CONSPIRACY

From in or about 2005 and continuing through in or about 2015 , in the
Houston Division of the Southern District of Texas and elsewhere, the

defendant,

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ANN GUIN
a/k/a CHARLOTTE ANN GUIN,

did knowingly combine, conspire, confederate, and agree with others known
and unknown to commit the following offense against the United States:
defendant herein, did knowingly combine, conspire, confederate, and agree
with others known and unknown to commit the following offense against the
United States, that is: to knowingly execute and attempt to execute a scheme
and artifice to defraud JPMorgan, a federally insured financial institution,
and to obtain moneys, funds, and credits owned by and under the custody
and control of JPMorgan, by means of material false and fraudulent

pretenses, representations, and prornises, in violation of Title 18, United
States Code, Section 1344.

C. MANNER AND MEANS OF THE CONSPIRACY
13. The defendant and her co-conspirator sought to accomplish the purpose of

the conspiracy by the following manner and means, among other things:

a. obtaining lines of credit by submitting applications that contained forged
and unauthorized guarantor signatures;

b. failing to disclose payments to GUIN and her family;

c. making unauthorized transfers from another customer’s line of credit to
the co-conspirator’s bank account.

d. engaging in monetary transactions with the proceeds of the scheme in
amounts over $l0,000.

D. ACTS IN FURTHERANCE OF THE CONSPIRACY

l4. In furtherance of the conspiracy and to achieve the purpose thereof, the

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defendant and her co-conspirator, in the Southern District of Texas and elsewhere,
committed and caused to be committed at least one of the following acts, among
others:

(l) On or about March 22, 2005 , GUIN signed or caused to be signed G’s
signature as a guarantor for a co-conspirator, causing the Bank to approve a
$600,0()0 line of credit.

(2) On or about November l7, 2005 , GUIN transferred or caused to be
transferred an advance of $60,000 from G’s line of credit to the co-conspirator’s
bank account without G’s knowledge or authorization

(3) On or about November 18, 2005 , the co-conspirator wrote GUIN an
Email that said: “T hank you...thl's will make the day forever memorable. ”

(4) On or about October 12, 2009, GUIN and the co-conspirator exchanged
an email that said:

GUIN.' You (sic) document are waiting for you when you get back Thursday.
Co-conspirator.' T hank you for making my evening... good night from Paris.

(5) Gn or about October 15, 2009, GUIN signed or caused to be signed G’s
signature as a guarantor for the co-conspirator, causing the Bank to approve a
second line of credit for $500,000 for the co-conspirator.

(6) On or about October 16, 2009, the co-conspirator wrote a personal

check for $50,()00 to a company owned by GUIN’S son.

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(7) On or about April 25, 2011, GUIN signed or caused to be signed a
signature for one of G’s companies as a guarantor for the co-conspirator, causing
the Bank to approve a line of credit increase for the co-conspirator.

(8) On or about May 23, 2011, the co-conspirator wrote a personal check to
GUIN’S sister for $28,000.

(9) On or about June 28, 2011, the co-conspirator wrote a check to GUIN’S
grandson for $7,000.

(10) On or about December 4, 2011, the co-conspirator wrote an email to
GUIN that said:

Ann, 1 paid the last 2 interest payments and “other things ”j?”om the dollars

that I had reserved for those charges so 1 need the renewal to clear my
account

(11) On or about December 16, 2011, GUIN signed or caused to be signed
G’s signature as a guarantor for the co-conspirator, causing the Bank to approve a
line of credit of credit increase for the co-conspirator.

In violation of Title 18, United States Code, Section 371.

NoTICE oF CRIMINAL FoRFEiTURE
18 U.s.c. § 982(3)(2)

Pursuant to Title 18, United States Code, Section 982(a)(2), the United
States gives notice to the defendant,

ANN GUIN
a/k/a CHARLOTTE ANN GUIN,

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that in the event of conviction of the offense charged in Count 1 of this
Crirninal Information, the United States intends to seek forfeiture of all property
constituting or derived from proceeds obtained, directly or indirectly, as the result
of such offense.
Monev Judgment and Substitute Assets

Defendant is notified that upon conviction, a money judgment may be
imposed against the defendant In the event that a condition listed in Title 21, United
States Code, Section 853(p) exists, the United States will seek to forfeit any other
property of the defendant in substitution up to the total value of the property subject

to forfeiture

RYAN K. PATRICK
UNITED STATES ATTORNEY

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Belinda Beek _
Assistant United States Attorney

